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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                    Case No.: 1:13-cv-23285-DPG

  AUTOMOTORES GALINDO, S.A.,
           Plaintiff,

  v.

  FORD MOTOR COMPANY,
        Defendant.
  ________________________________/


            DEFENDANT FORD MOTOR COMPANY’S REPLY MEMORANDUM
       OF LAW IN FURTHER SUPPORT OF ITS MOTION FOR SUMMARY JUDGMENT

           Pursuant to Federal Rule of Civil Procedure 56 and Local Rules 7.1 and 56.1, Defendant,

  Ford Motor Company (“Ford”), submits this reply memorandum of law in further support of its

  motion for summary judgment.

                                         INTRODUCTION

           Because both parties have simultaneously moved for summary judgment the motion

  papers overlap substantially. In fact, Plaintiff’s opposition to Ford’s motion [DE 69] for the

  most part restates the arguments made in Plaintiff’s own motion [DE 60] (which, in turn,

  repeated the arguments in Plaintiff’s response to Ford’s objection [DE 32]). The bulk of these

  arguments have already been addressed extensively in Ford’s opposition to Plaintiff’s motion

  [DE 68], as well as in Plaintiff’s moving papers on its own motion. [DE 68]. In light of this

  overlap and in an effort to avoid repetition as much as is feasible, Ford incorporates herein its

  prior submissions on the two motions: DE 56; DE 57; DE 67; and DE 68.

           Plaintiff’s opposition offers little new by way of factual argument or legal authority.

  Nearly all of the cases cited by Plaintiff in its response have already been covered by Ford in its



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  prior submissions, as have the argument for the support of which they are offered. None of these

  help the Plaintiff.    As demonstrated yet again below, Plaintiff simply cannot escape the

  overwhelming weight of the authorities which mandate summary judgment in Ford’s favor.

                                             ARGUMENT

           Plaintiff emphasizes repeatedly that the granting of objections under section 55.605(2)(e)

  is discretionary. As a matter of strict statutory language this is perfectly true. But, as explained

  in Ford’s response to Plaintiff’s motion for summary judgment [DE 68, p. 11], one of the reasons

  why courts are unanimous is their decisions under this section of the Uniform Act is the long-

  standing policy of favoring arbitration and honoring the parties’ contractual commitments to

  submit their disputes to arbitration. [DE 56, pp. 5-6].

           The state of the law is aptly summed up in FED. JUD. CTR. INT’L LITIG. GUIDE, Ronald A.

  Brand, Recognition and Enforcement of Foreign Judgments § IV(B)(5) at 23 (Apr. 2012):

           In The Bremen v. Zapata Offshore Co., [407 U.S. 1 (1972)], the U.S. Supreme
           Court stated clear support for the enforcement of forum-selection clauses in
           international contracts. Foreign judgments obtained in an effort to evade
           jurisdiction in the forum originally agreed to by the parties are likely to be
           enforced in U.S. courts only in rare circumstances.

           To date, no court has encountered (at least not in any reported decision), the type of rare

  circumstances which would justify recognizing such a foreign judgment.            This recognition

  proceeding is certainly far from such an exceptional case. To the contrary, this is a garden-

  variety case of a foreign plaintiff trying to evade jurisdiction in an agreed-on forum and, as

  happens not infrequently, finding an accommodating home court willing to assist.

           Plaintiff’s attempt to distinguish the uniform body of law in this area is specious. [DE

  69, pp. 11-12]. The absence of ambiguity in the case law could not be more manifest. [DE 56,

  pp. 3-6]. More troubling still is Plaintiff’s persistent citations to cases that do not hold what




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  Plaintiff claims they do. Indeed, some of them hold the very opposite of what Plaintiff claims.

  One such case is Ingersoll Milling Machine Co. v. Granger, 833 F.2d 680 (7th Cir. 1987), which

  Plaintiff continues to cite for the proposition that the court may recognize a foreign judgment

  issued in violation of the parties forum-selection agreement. [DE 69, p. 13]. Ingersoll, however,

  stands for no such proposition, for the simple reason, as expressly stated by the court, that there

  was no agreement by the parties in that case to litigate (or arbitrate) their claims in a particular

  forum. As stated by the court:

           [Illinois’s counterpart to section 55.605(2)(e)] addresses the situation where the
           parties agree that any litigation pertaining to the contract will be carried out in a
           particular forum. Thus, for Ingersoll's arguments to have any merit, the agreement
           between Mr. Granger and Ingersoll would have had to provide that any suit
           regarding the employment relationship be brought in the courts of Illinois.
           However, the contract has no such provision.
  833 F.2d at 698. (Emphasis added). Ingersoll is thus not only consistent with, but reinforces the

  authorities cited by Ford.

           A.     Decision of Bolivian Court is Not Res Judicata

           Plaintiff’s res judicata argument does not add anything, including any new case law, to

  what Plaintiff has already argued in its Objection [DE 32, p. 13-15] and its motion for summary

  judgment. [DE 60, pp. 10-11]. The argument has been dealt with comprehensively in Ford’s

  motion for summary judgment [DE 56, pp. 12-14] and Ford’s opposition to Plaintiff’s motion for

  summary judgment. [DE 68, pp. 13-14]. See also DE 35, pp. 13-16.

           Plaintiff continues to misstate the meaning and import of the three cases on which it

  relies: Marolax Handles-Und Verwaltungesellschaft MbH v. 898 5th Ave. S. Corp., No. 2:06-cv-

  691-FtM-29SPC, 2008 WL 1776996 (M.D. Fla. Apr. 16, 2008); Israel v. Flick Mortgage

  Investors, Inc., 23 So. 3d 1196 (Fla. 3d DCA 2008); and ICC Chemical Corp. v. TLC Indus.

  (Malaysia) SDN, 206 F. App’x 68 (2d Cir. 2006). These decisions have no application here.



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           Marolax did not deal with an objection based on a forum-selection clause. There, the

  objection was, first, that the German court did not have personal jurisdiction over the defendant;

  and, second, that the judgment was obtained by fraud committed on the German court.          With

  respect to the former, the magistrate’s report and recommendation, which were adopted by the

  district judge, demonstrates that far from treating the German court’s ruling concerning personal

  jurisdiction as res judicata, the magistrate conducted a hearing and made his own findings of

  fact. As stated by the district court: “The Magistrate Judge found that 898 Fifth Avenue

  submitted itself to the jurisdiction of the German court by voluntarily submitting to a German

  venue and German law.” 2008 WL 1776996 at *3. Further, “[t]he Magistrate Judge found at

  least constructive knowledge of the proceedings based on service of Interbuilding, and found that

  Mr. Schache chose not to respond.” Id. at *4. No res judicata treatment was thus extended by

  the court to the German court’s findings concerning personal jurisdiction.

           With respect to the fraud-based objection – predicated on the allegedly false evidence

  presented to the German court – the magistrate did defer, at least in part, to the German court’s

  factual finding that no fraud on it was committed. 1 “Fraud on the foreign court,” however, is a

  very different type of an objection to recognition, one with its own distinct standards and its own

  well-developed body of law. As stated in FED. JUD. CTR. INT’L LITIG. GUIDE, Ronald A. Brand,

  Recognition and Enforcement of Foreign Judgments § IV(B)(2) at 20-21 (Apr. 2012):

           […] Generally, a foreign judgment can be impeached only for extrinsic fraud,
           which deprives the aggrieved party of an adequate opportunity to present its case
           to the court. If a foreign plaintiff withheld from the foreign court material
           evidence that was favorable to the U.S. defendant, this would be considered
           extrinsic fraud sufficient to deny recognition.



  1
    See Magistrate’s report and recommendations at Marolax Handles-Und Verwaltungesellschaft
  MbH v. 898 5th Ave. S. Corp., No. 2:06-cv-691-FtM-29SPC, 2007 WL 5117261 (M.D. Fla. Aug.
  30, 2007).


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           In most cases, a judgment cannot be impeached for intrinsic fraud, which
           involves matters passed upon by the original court, such as the veracity of
           testimony and the authenticity of documents. If the foreign court has actually
           considered and ruled upon an allegation of fraud, whether extrinsic or intrinsic,
           the facts bearing on that issue may not be reexamined by the U.S. court in an
           enforcement proceeding.

  (Citations omitted, emphasis added). The fraud alleged to have been committed on the German

  court in Marolax (false testimony) was precisely the type of intrinsic fraud that cannot serve as a

  basis for non-recognition. The standards for “fraud on the court” objections – particularly with

  regard to intrinsic fraud – are thus markedly different from the standards applied to forum-

  selection-based objections, and have no bearing here.

           Israel v. Flick Mortgage Investors also did not deal with an objection based on forum-

  selection. In fact it did not deal with any objection recognized by the Uniform Act. This, in fact,

  was the very point of the court’s decision. The Israel court stated: “[A]n attack on the manner of

  service of process is not expressly set forth as one of the ten grounds for nonrecognition or

  nonenforceability that may be asserted under the [Uniform] Act.” 23 So. 3d at 1198. The court

  then held that even if the objection to the service of process was proper under the Uniform Act,

  the judgment debtor had waived this objection by not raising it in the Israeli action. In this

  regard, the court stated the obvious point that “[g]rounds for nonrecognition [under the Uniform

  Act] may be waived if a party had the right to assert that ground as an objection of defense in the

  foreign country but failed to do so.” Id. at 1199. It is undisputed that Ford has asserted an

  objection that is “expressly set forth [in the Uniform Act] as one of the ten grounds for

  nonrecognition.” It is also indisputable that Ford had raised this objection before the Bolivian

  courts and thus had not “waived” it.

           Plaintiff’s efforts to equate this case with ICC Chemical Corp. are unavailing.        As

  explained in Ford’s motion [DE 56, pp. 13-14], that case was predicated on the fact that the



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  agreement, as executed, did not call for arbitration in New York but, instead, for litigation in

  Singapore, where it was brought. It is uncontested that the agreement here does contain an

  exclusive arbitration clause and moreover is governed by Michigan law.

           B.     Collateral Estoppel Does Not Apply

           Plaintiff still does not, and cannot, cite a single case in which a foreign money judgment

  debtor was deemed collaterally estopped from asserting its objection under the Uniform Act.

  Ford addresses this argument in its motion for summary judgment [DE 56, pp. 14-15] and, more

  extensively, in its opposition to Plaintiff’s motion. [DE 68, pp. 14-16]. The point that Plaintiff

  persists in missing is that collateral estoppel applies only to a judgment that has already been

  recognized. Until a foreign judgment is recognized – i.e., until it acquires the status of a

  judgment under U.S. law – it has no preclusive effect whatsoever. Hurst v. Socialist People’s

  Libyan Arab Jamahiriya, 474 F. Supp.2d 19, 33 (D.D.C. 2007), discussed at DE 68, pp. 15-16.

           Plaintiff’s continued reliance on Daewoo Motor Am., Inc. v. Gen. Motors Corp., 459 F.3d

  1249 (11th Cir. 2006), is wrong. As previously explained by Ford [DE 56, p. 10; DE 68, p. 16],

  Daewoo is not a judgment recognition case but an “abstention” case, and, moreover, does not at

  all deal with collateral estoppel.

           C.     International Comity Has No Application to This Case

           The inapplicability of the common law doctrine of comity to a proceeding to recognize a

  foreign money judgment is fully explained in Ford’s motion for summary judgment. [DE 56, pp.

  8-12]. Plaintiff continues to ignore [DE 69, p. 8] the fact that the Uniform Act has supplanted

  common law comity as a basis for recognition of foreign money judgments. Nicor International

  Corp. v. El Paso Corp., 292 F.Supp.2d 1357, 1364 (S.D. Fla. 2003).             Plaintiff offers no

  justification for its insistence that the Court disregard the statutory framework of the Uniform




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  Act – and the case law applying it – in favor of comity principles long superseded by the

  Uniform Act. There is none.

           D.     Ford Had Never Submitted “the Issue of Arbitrability” to the Bolivian Court

           Plaintiff’s argument that Ford had waived the objection based on the forum-selection

  clause by “submitting the issue of arbitrability” to the Bolivian court is a repeat of the argument

  made by Plaintiff in support of its own motion, and is addressed in Ford’s response to that

  motion. [DE 68, pp. 18-19]. Ford did no such “submitting.” Rather, Ford filed an objection to

  the Bolivian court’s subject matter jurisdiction based on the forum-selection clause. This was

  Ford’s only option under the Bolivian court’s rules. Ford asked the Bolivian court to dismiss the

  case on the grounds that the parties had an exclusive forum-selection clause calling for

  arbitration in Michigan. Ford’s objection was essentially the equivalent of a Rule 12(b) motion.

  Bolivian court refused to dismiss, holding that by terminating the GIDS Agreement Ford had

  nullified the forum-selection clause contained in it. Plaintiff’s argument that the filing of Ford’s

  objection constitutes a submission of the issue of arbitrability to the Bolivian court – and thus a

  waiver of Ford’s rights under the Uniform Act – is unsupported by any authority and is illogical.

  Were this the case, every motion to a foreign court to dismiss the claim pursuant to a forum-

  selection agreement would preclude a defendant from later objecting to recognition under the

  Uniform Act. The Uniform Act would then have no meaning.

           Plaintiff’s reliance on Doe v. Princess Cruise Lines, Ltd., 657 F.3d 1204 (11th Cir. 2012),

  is misplaced, as explained in DE 68, p. 19. That case deals with determinations of arbitrability

  under the Federal Arbitration Act (“FAA”). It stands for nothing more than that on applications

  to compel arbitration under the FAA, the court, not the arbitrators, makes the determination of

  whether the claim is subject to the arbitration agreement, and the party who files a motion to




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  compel arbitration is bound that determination. Doe has nothing to do with the recognition of

  foreign judgments. Id.

           Plaintiff similarly mis-cites In re Checking Account Overdraft Litigation MDL No. 2036,

  685 F.3d 1269 (11th Cir. 2012). This too was an FAA case, not a recognition case, in which the

  finding of waiver was predicated on the fact that the party seeking arbitration had “litigated its

  case for over a year without moving the district court to submit the threshold issue of

  enforceability to the arbitrator.” Id. at 1274. [DE 68, p. 18].

            E.    Plaintiff’s Argument That Ford Should Have Commenced a Parallel
                  Arbitration is Baseless

           Plaintiff continues to assert that it was incumbent on Ford to commence a parallel

  arbitration in Michigan or to seek an order of a U.S. court to compel arbitration, and that Ford’s

  failure to do so constitutes a waiver of its objection under section 55.605(2)(e). This is a repeat

  of Plaintiff’s identical argument in its own motion. It is addressed in Ford’s response to that

  motion. [DE 68, pp. 20-21].

            To reiterate, since Ford had no claims of its own to assert under the GIDS Agreement,

  Plaintiff’s position is that Ford was obligated to commence a defensive arbitration, seeking a

  declaration that it was not liable to Plaintiff. Plaintiff’s argument essentially means that for

  section 55.605(2)(e) to apply, the defendant – even one who has no affirmative claims of its own

  to assert – must commence a parallel proceeding in the proper forum, or risk losing his right to

  object under section 55.605(2)(e). No court has ever tacked-on such an additional requirement to

  the plain language of the statute.

           Plaintiff’s continued reliance on Fremont Cake & Meal Co. v. Wilson & Co., 86 F. Supp.

  968 (D. Neb. 1949); Triplecheck, Inc. v. Creole Yacht Charters Ltd., No. 05-21182-CIV, 2006

  WL 3507971 (S.D. Fla. Dec. 5, 2006); and Nicor International Corp. v. El Paso Corp., 292 F.



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  Supp. 2d 1357 (S.D. Fla. 2003), reconsideration denied, 318 F. Supp. 2d 1160 (S.D. Fla. 2004),

  is without basis. These cases are discussed by Ford extensively in its prior submissions on both

  motions. [DE 56, pp. 3, 8, 15; DE 68, pp. 10, 15, 18-19]. Like all of the other authorities relied

  on by Plaintiff, these decisions do not stand for the proposition claimed by Plaintiff.

           F.     Plaintiff’s “Condition Precedent” Argument Remains Meritless

           Plaintiff’s argument that “Ford did not comply with the parties’ dispute resolution clause”

  [DE 69, pp. 16-17] is a recasting of the argument in its Objection [DE 32, pp. 18-19]. It is dealt

  with comprehensively in Ford’s motion.         [DE 56, pp. 17-19].      Plaintiff ignores all of the

  authorities cited by Ford, including two Supreme Court decisions, most recently in BG Group

  PLC v. Republic of Argentina, 134 S. Ct. 1198 (2014), which render its argument utterly moot.

  Plaintiff offers no authorities of its own. It merely regurgitates the argument as if Ford had never

  addressed it.

           Remarkably, Plaintiff also attempts to turn the Bolivian court’s decision on its head.

  Plaintiff offers “a more plausible reading” of the decision, claiming that it was the parties’ failure

  to engage in pre-arbitration negotiations that, in the judge’s mind, invalidated the forum-

  selection clause. This brings to mind the old saw: Who are you going to believe – me or your

  own eyes? The precise wording of the ruling is as follows:

           Ford Motor Company has unilaterally terminated the validity of the contract; now,
           in regard to the damages that the dealer [Galindo] claims were caused by this act
           (the unilateral rupture of the contract), it is impossible to submit this claim for
           arbitration in an Arbitration Court of the State of Michigan, United States of
           America, in accordance with the contract.
  [DE 57 ¶¶ 15, 16; DE 14-2, p 38]. It cannot seriously be contended that these words mean

  anything but that in Bolivian judge’s view it was Ford’s termination of the GIDS Agreement that

  resulted in the termination of the forum selection clause contained in it. [DE 57 ¶ 15; DE 5-1, p.

  7 ¶ 19; DE 6, p. 8]. The “reading” offered by Plaintiff is not merely less plausible, it is


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   downright absurd. Regardless, it is the end result that is ultimately relevant here, not what was in

   the Bolivian’s judge’s mind when he denied Ford’s objection. The latter is only relevant to

   demonstrate the lengths to which the court was willing to go to accommodate the home plaintiff.



                                            CONCLUSION

            For the foregoing reasons, Ford is entitled to judgment as a matter of law and its motion

   for summary judgment should therefore be granted.

   Dated: February 27, 2015                        Respectfully submitted,

                                                   /s/ Gary M. Pappas_____________
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                                    CERTIFICATE OF SERVICE

            I HEREBY CERTIFY that on February 27, 2015 I electronically filed the foregoing

   Defendant, Ford’s reply memorandum of law in further support of its motion for summary

   judgment with the Clerk of the Court using CM/ECF. I also certify that the foregoing document

   is being served this day on all counsel of record or pro se parties identified on the attached

   Service List in the manner specified, either via transmission of Notices of Electronic Filing

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   not authorized to receive electronically Notices of Electronic Filing.

                                                        s/ Gary M. Pappas
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